

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-20,423-11






ISMAEL PADILLA, Relator


v.


DALLAS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. W-82-90756-P(B) &amp; W-83-88766-P(D) 

IN THE 203RD JUDICIAL DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for writs of habeas corpus in
the 203rd Judicial District Court of Dallas County, that more than 35 days have elapsed, and that the
applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the records on such
habeas corpus applications; submitting copies of timely filed orders which designate issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed any applications for habeas corpus in Dallas County.  Should the response
include orders designating issues, proof of the date the district attorney's office was served with the
habeas applications shall also be submitted with the response.  This application for leave to file a
writ of mandamus shall be held in abeyance until the respondent has submitted the appropriate
response.  Such response shall be submitted within 30 days of the date of this order.



Filed: August 10, 2011

Do not publish	


